UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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Richard Marasco, individually on behalf of         :
himself and all others similarly situated,         :
                                                   :   Case No. 1:16-cv-00232-PKC-JO
                Plaintiff,                         :
v.                                                 :        MEMORANDUM OF LAW IN
                                                   :    OPPOSITION TO VICTOR FINNEGAN’S
                                                   :           MOTION TO DISMISS
American Expediting Company, Inc., A to Z          :
Logistics, Inc., Victor Finnegan, and John Does 1- :
25,                                                :
                                                   :
                Defendants.
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   I.       Preliminary Statement

         This matter is a collective action under the Fair Labor Standards Act (“FLSA” or 29

U.S.C. §§ 201, et seq.) and is brought by plaintiff to remedy widespread wage and hour

violations by defendants. Plaintiff seeks redress for, inter alia, defendants’ failure to pay the

minimum wage and overtime wages to plaintiff and to all of defendants’ current and former

messengers and delivery drivers throughout New York and the United States. Plaintiff also

brings this action as a class action on behalf of himself and all similarly situated current and

former messengers and delivery drivers who worked for defendants. Plaintiff alleges that he and

class members are entitled to back wages as a result of defendants’ failure to pay minimum

wage, overtime pay, and spread-of hours pay as required by the New York Labor Law (“NYLL”)

§§ 650 et seq., including Part 142, § 142-2.2 (“Overtime Rate”) of Title 12 of the Official

Compilation of Codes, Rules and Regulations promulgated by the Commissioner of Labor

pursuant to the Minimum Wage Act (Article 19 of the NYLL). Id.

         Defendant Finnegan argues that plaintiff has failed to plead a viable claim against him

and that the complaint allegations are threadbare recitals of the “economic reality test” facts.

This is incorrect. The operative complaint includes fact specific allegations sufficient to

withstand FRCP 12(b)(6) scrutiny against Finnegan on the FLSA and NYLL claims. Moreover,

notwithstanding defendant’s contrary arguments, there is no basis to dismiss the conversion

claim against Finnegan.

   II.      Legal Arguments

   A. The FLSA and NYLL Claims Against Finnegan Must Stand

         Defendant argues that the operative complaint fails to plausibly plead that Finnegan was

an employer for purposes of FLSA and NYLL. In support of this position, defendant cites to



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cases including Nakahata v. N.Y.-Presbyterian Healthcare Sys., 2012 U.S. Dist. LEXIS 127824

(S.D.N.Y. Sep. 6, 2012). But in that case, the court explained "the individual sought to be held

liable cannot be just any employee with some supervisory control over other employees and must

be instrumental in causing the corporation to violate the FLSA." Id at * 37-38. And, the court

explained “the overarching concern is whether the alleged employer possessed the power to

control the workers in question." Id. at * 38. Moreover, the court cautioned against “licens[ing]

suit under the FLSA against every high level officer and board member of large public

companies simply because of the position the individual holds.” Id. at * 38. Here, and in stark

contrast to Nakahata, plaintiff is not simply seeking to hold Finnegan liable because he is “any

employee” or because he is a random “high level officer.” Rather, the operative complaint

includes allegations that Finnegan owned and controlled A to Z Logistics, Inc. and the web of

companies for which Marasco worked (See R. Doc. 48, paragraphs 13-22) and allegations that in

his capacity as president and owner, he controlled and managed the day-to-day operations,

including hiring/firing, work schedules, and worker payments. (R. Doc. 48, paragraph 18).

       Defendant also relies on Tracy v. NVR, Inc., 667 F. Supp. 2d 244, 247 (W.D.N.Y. 2009).

But, in that case, which is starkly different from the case at bar, the court dismissed the

individual FLSA and NYLL claims against defendant Madigan because “plaintiffs …failed to

sufficiently allege that Madigan -- the chief human resources officer in an enormous, multi-

billion dollar corporation scattered across hundreds of miles -- had and exercised sufficient

control over them to satisfy the economic reality test, or that he was otherwise their ‘employer’

for FLSA purposes. Again, in the case at bar, Finnegan is not alleged to be a random high level

employee (e.g. an HR officer in a multi-billion dollar company with a national reach), rather,

Finnegan is alleged to be -- and is -- the owner and president of A to Z Logistics, Inc. and he is



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the individual who controls all of the day-to-day operations of the interrelated web of businesses

that employed Marasco and those similarly situated.

       In Leal v. Masonry Servs., No. 12-CV-588 (DLI)(VVP), 2013 U.S. Dist. LEXIS 19142

(E.D.N.Y. Feb. 12, 2013), which defendant does not cite, the court denied defendants’ motion to

dismiss where plaintiff alleged defendants had the power to hire and fire employees, supervised

and controlled employee work schedules and conditions of employment, determined the rate and

method of payment for employees, and generated and maintained employment records, and

plaintiff alleged that he and other similarly situated employees worked under the direction of the

defendants at the relevant times to this action. Plaintiff’s allegations against Finnegan in the

operative complaint are consistent with the allegations in Leal. See also Severin v. Project OHR,

Inc., 2011 U.S. Dist. LEXIS 99839, 2011 WL 3902994, at *6 (S.D.N.Y. Sept. 02, 2011)

(denying motion to dismiss where plaintiffs alleged executive director of company "controlled

personnel decisions, and had the power to hire and fire, set wages, and otherwise control the

terms and conditions of the plaintiffs' employment"); see also Michalek v. Amplify Sports and

Entm't LLC, 2012 U.S. Dist. LEXIS 85727, 2012 WL 2357414, at *3 (S.D.N.Y. June 20, 2012)

(granting leave to amend complaint to add company's president as defendant based on allegations

that president "had the authority to hire and fire employees for Amplify, had the authority to

supervise employees for Amplify, controlled employees' schedules for Amplify, and determined

the rate and method of payment for employees of Amplify") (internal quotations omitted);

Hernandez v. Habana Room, Inc., 2012 U.S. Dist. LEXIS 17289, 2012 WL 423355, at *3

(S.D.N.Y. Feb. 09, 2012) ("Whether the plaintiff will ultimately be able to . . . establish that the

individual defendants here had sufficient operational control to be considered 'employers' under

the FLSA and New York Labor Law is a matter to be determined on summary judgment or at



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trial."). Wilk v. VIP Health Care Servs., 2012 U.S. Dist. LEXIS 21630 (E.D.N.Y. Feb. 21, 2012)

(finding plaintiff's allegations sufficient where "there [was] no reason to question the plausibility

of [plaintiff's] allegations in light of VIP's size or number of employees [and] there [was] no

allegation that VIP is a massive enterprise with far-flung offices and a large number of

employees").

        Given that the FLSA and NYLL claims against Finnegan are well pled and plausible,

these claims must survive FRCP 12 (b)(6) scrutiny.

    B. The Conversion Claim Against Finnegan must Stand

        A corporate officer or employee who participates in conversion in the course of his

employment may be held personally liable for his acts. Fashions Outlet of Am., Inc. v. Maharaj,

No. 88 CIV. 7231 (PNL), 1991 U.S. Dist. LEXIS 9945, at *16 (S.D.N.Y. July 19, 1991). In his

motion, Finnegan argues that the conversion claim must be dismissed because plaintiff fails to

allege that Finnegan personally acted with bad faith or fraud. This is a mischaracterization.

Plainly, plaintiff alleges that Finnegan had control over defendants’ day to day operations,

including employees’ hours worked, rates/methods of pay, and hiring/firing. (R. Doc. 48,

paragraphs 16-18). And, plaintiff alleges that defendants, including Finnegan, willfully and

maliciously converted funds owed to Marasco and those similarly situated by withholding

monies from them on the pretext that said money was used to purchase insurance for them.

Plaintiff also alleges that defendants’ conduct “was willful and in bad faith.” (R. Doc. 48,

paragraph 39). Thus, insofar as plaintiff is required to plead that Finnegan acted personally and

with bad faith, plaintiff has satisfied this burden.




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    III.      Conclusion

           For the reasons set forth above, Finnegan’s motion to dismiss must be denied. In the

event, however, that the court finds any deficiency in the operative complaint, it is respectfully

submitted that leave to replead must be granted, in accordance with Williams v. Citigroup Inc.,

659 F. 3d 208 (2d Cir. 2011)1.

DATED: April 25, 2017
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  Cont'l Petroleum Corp. v. Corp. Funding Partners, LLC, 2012 U.S. Dist. LEXIS 71611, at *13 (S.D.N.Y. May 22,
2012), which is cited by defendant, is inapposite. In that case, the court found that “plaintiffs do not come close to
satisfying relevant pleading standards or stating a claim under the RICO statute or state law claims sounding in
fraud. The Court thus finds that any amendment to the Amended Complaint would not cure the failure of the
plaintiffs' current pleadings to state a claim under the RICO statute.” In contrast, in the case at bar, additional
limited discovery directed to Finnegan would undoubtedly allow plaintiff to bolster the allegations defendant
contends are threadbare.



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